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                     Exhibit A
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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


NATIONAL COUNCIL OF NONPROFITS,
1001 G Street NW, Suite 700 East
Washington, D.C. 20001,

AMERICAN PUBLIC HEALTH
ASSOCIATION,
800 I Street NW
Washington, D.C. 20001,
                                                  Case No.
MAIN STREET ALLIANCE,
909 Rose Avenue
North Bethesda, MD 20852

and

SAGE,
305 7th Avenue, 15th Floor
New York, N.Y. 10001,

Plaintiffs,

v.

OFFICE OF MANAGEMENT & BUDGET,​
725 17th Street, N.W.
Washington, D.C. 20503,

and

MATTHEW VAETH, in his official capacity as
Acting Director, Office of Management and
Budget​
725 17th Street, N.W.​
Washington, D.C. 20503,

Defendants.


                             DECLARATION OF AARON TAX


I, Aaron Tax declare as follows:




                                                                                  1
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1.​ I am the Managing Director of Government Affairs and Policy Advocacy for the

   organization SAGE. I submit this declaration in support of Plaintiffs’ application for a

   temporary restraining order in this matter. The statements made in this declaration are

   based on my personal knowledge, materials I have reviewed, and information made

   available to me pursuant to my duties at SAGE.

2.​ SAGE is a nonprofit, nonpartisan organization that is headquartered at 305 Seventh

   Avenue, New York, NY 10001. Founded in 1978, SAGE is a national services and

   advocacy organization whose mission is to allow lesbian, gay, bisexual, transgender, and

   queer (“LGBTQ+”) older people to age with respect and dignity.

3.​ LGBTQ+ older adults have unique needs due to a lifetime of discrimination and

   harassment, and because for many decades they were not permitted to take advantage of

   the institutional benefits of marriage. LGBTQ+ older people are more likely to have

   poorer physical or mental health, more likely to live in poverty, and more likely to suffer

   from discrimination, than their contemporaries. Further, understanding the perspective of

   LGBTQ+ older adults requires understanding that when they were younger,

   discrimination was much more widespread, legal, and broadly accepted than it is now.

   Accordingly, fear of discrimination deters many LGBTQ+ older adults from using

   available services, despite their high level of need. Among its work, SAGE seeks to

   connect these adults with the services they acutely need.

4.​ SAGE operates through a variety of programs. Among these, SAGE runs the National

   Resource Center on LGBTQ+ Aging. The goal of the National Resource Center on

   LGBTQ+ Aging is to provide ongoing and sustainable resource development, technical

   assistance, education, and training that supports the Aging and Disability Networks in




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   providing services to LGBTQ+ older adults and their caregivers.

5.​ The National Resource Center on LGBTQ+ Aging was established in 2010 through a

   grant from the Department of Health and Human Services (HHS) Administration for

   Community Living (ACL) under the Older Americans Act. SAGE was awarded

   subsequent grants to continue leading the National Resource Center on LGBTQ+ Aging

   in 2013, 2015, 2020, and 2023. The current financial assistance award totals $315,072

   with 74% percentage funded by ACL/HHS and $80,262 amount and 26% percentage

   funded by non-governmental source(s).

6.​ The current grant for the National Resource Center on LGBTQ+ Aging is entitled,

   Strengthening Aging Services for Minority Populations Through Technical Assistance,

   Resource Development, and Program Coordination with the goal to create and expand

   technical assistance (TA) for organizations and individuals to better serve older people

   and their family caregivers of diverse backgrounds. This particular funding opportunity

   expands ACL’s support for national organizations developing and implementing technical

   assistance and support activities to serve African American, Latinx, Asian and Pacific

   Islander, Native American, and LGBTQ+ older adults, acknowledging that “the greatest

   needs of older adults include challenges related to their racial or ethnic backgrounds,

   language barriers, and/or sexual and gender identity. Under this grant, SAGE provides

   education and technical assistance to other ACL-funded organizations, private aging and

   disability organizations as well family caregivers in reaching the most at-risk older

   members of the community, many of whom are LGBTQ+ and also racial or ethnic

   minorities and living in rural communities. Additionally, this grant supports the

   development of fact sheets and resource guides, information and referral, and social




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   supports for LGBTQ+ older adults and their caregivers. These supports address the

   unique concerns and challenges of diverse older adults including increased risk of social

   isolation, legal, financial and end of life planning and caregiving.


7.​ Pausing this funding for the National Resource Center on LGBTQ+ Aging threatens

   SAGE’s ability to provide education and technical assistance to the ACL funded aging

   network and community based organizations as they strive to meet the needs of diverse

   older adults and their caregivers. This pause also disrupts SAGE’s ability to provide

   information and referral and ongoing resource development aimed at support for

   LGBTQ+ older adults and family caregivers to reduce social isolation and strengthen

   legal, financial and end of life planning. Additionally, a pause in funding jeopardizes the

   employment of multiple positions partially funded through this grant.


8.​ SAGE receives additional grant funds from HHS ACL following a new appropriation in

   2024 to build a new online hub–SAGEYou. SAGEYou is designed to ensure that

   LGBTQ+ elders and people who care for them are connected to a comprehensive range

   of resources, information, services, and community engagement opportunities. SAGEYou

   will centralize LGBTQ+-friendly and elder-accessible content, addressing disparities

   such as social isolation, mental health challenges, physical health disparities, and

   financial insecurity, to improve aging outcomes for LGBTQ+ older adults.

9.​ Even a short term pause in funding will prevent SAGE from promoting SAGEYou to

   elders and their caregivers as part of the planned launch this spring, thereby significantly

   curtailing its reach and effectiveness. The failure to launch SAGEYou will exacerbate

   existing disparities in access to resources that support healthy aging, depriving millions

   of elders of the tools and connections necessary to thrive, thereby increasing isolation,



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   loneliness, and other adverse mental health outcomes. This impact would be particularly

   acute for those LGBTQ+ older adults residing in rural and underserved areas who already

   face significant barriers to accessing critical services and supports.

10.​The cutoff of funding for SAGEYou jeopardizes multiple staff positions and SAGE’s

   ability to continue meeting its obligations to contractors which it has already retained.

11.​SAGE also receives a grant funded through the State Department’s Bureau of

   Democracy, Human Rights, and Labor to expand human rights protections and social and

   economic activity inclusion for LGBTQ+ older adults. This work supports LGBTQ+

   older people in Costa Rica, El Salvador, Nepal, and the Philippines primarily. The

   funding was originally awarded August 19, 2021. It was extended on September 11, 2024

   to build on the initial program period successes by generating new data about the human

   rights needs, experiences, and abuses impacting LGBTQ+ elders, using this data to

   develop and implement coordinated advocacy campaigns to protect LGBTQ+ elders

   human rights and fundamental freedoms, and strengthen the ability of LGBTQ+ human

   rights CSOs to understand, include, and address the unique needs of LGBTQ+ elders and

   leaders.

12.​On January 24, 2025, SAGE received a letter from the State Department stating that it

   was “notify[ing] the recipient that this award is immediately suspended as of January 24,

   2025. This award no longer effectuates agency priorities in accordance with the U.S.

   Department of State Standard Terms and Conditions. This suspension may be further

   codified through an amendment to the award reflecting the termination date if deemed

   applicable. Effective immediately upon receipt of this Notice of Suspension the Recipient

   must stop all work on the program and not incur any new costs after the effective date




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       cited above. The Recipient must cancel as many outstanding obligations as possible. A

       final performance report and financial report will be due 120 days after the effective date

       if the award is terminated.”

   13.​SAGE has ceased activities on that award. SAGE has notified all subgrantees on the

       award that work must cease immediately and has notified program staff that federal

       funding for their positions has been suspended. For the program to continue on an

       ongoing basis federal financial assistance is required.

   14.​SAGE reasonably fears, based on Memo M-25-13’s vague and hostile references to

       “wokeness,” “transgenderism,” and “gender ideology,” M-25-13 at 1-2, as well as similar

       rhetoric in other statements by the Trump administration, including some of the executive

       orders referenced in the Memo, that its future receipt of federal financial assistance will

       depend on SAGE’s past and future exercise of its First Amendment rights of free speech

       and association rather than on neutral criteria.


I declare under penalty of perjury that the foregoing is true and correct.

Executed on January 28, 2025, in Albany, NY



                                                                    /s/ Aaron Tax______________
                                                                    Aaron Tax




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